Case 1:04-cv-01135-.]DT-STA Document 36 Filed 08/26/05 Page 1 of 17 E’age|D 21

lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSE§<L_;

 

EASTERN DlesIoN 13
EVANS sTURDi\/ANT, )
Plaintiff, l
VS. § NO. 04-1 l35~T-AH
PlCTSWEET FROZEN FOODS, §
Defendant. l

 

ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
AND GRANTTNG DEFENDANT’S OBJECTIONS TO EXHIBITS

 

Plaintiff has filed this employment discrimination complaint under Title VII, 42
U.S.C. § 2000e-5, against his former employer, Pictsweet Frozen Foods.l Plaintiff contends
that he Was terminated from his employment in retaliation for having filed charges of
discrimination With the Equal Employment OpportunityCommission ("EEOC"). Defendant
has filed a motion for summary judgment, and Plaintiff has responded to the motion.
Defendant has filed a reply to the response For the reasons Set forth below, Defendant’s
motion for summary judgment is GRANTED. Defendant has also filed objections to
Plaintift`s list of exhibitsl Because Defendant’s objections are meritorious, the court Will

not consider the exhibits at issue.

 

l Defendant’s correct name is The Pictsweet Company.
'lTils document entered on the docket shoot ln oompl|anco
with mile ss and,'or_?s (a) FneP on _D§_'_¢’?i-L__

Case 1:04-cv-01135-.]DT-STA Document 36 Filed 08/26/05 Page 2 of 17 Page|D 22

Motions for summary judgment are governed by Rule 56 of the F ederal Rules ofCivil
Procedure. To prevail on a motion for summary judgment, the moving party has the burden
of showing the “absence of a genuine issue of material fact as to an essential element of the
nonmovant's case.” Street v. J.C. Bradford & Co., 886 F.2d1472, 1479 (6‘h Cir. 1989). The
moving party may support the motion With affidavits or other proof or by exposing the lack
of evidence on an issue for Which the nonmoving party vvill bear the burden of proof at trial.
Celotex Co;p. v. Catrett, 477 U.S. 317, 324 (1986). The opposing party may not rest upon
the pleadings but, “by affidavits or as otherwise provided in this rule, must set forth specific
facts Shovving that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e).

“lf the defendant . . . moves for summary judgment . . . based on the lack of proof of
a material fact, . . . [t]he mere existence of a scintilla of evidence in support of the plaintiffs
position Will be insufficient; there must be evidence on Which the jury could reasonably find
for the plaintiff.” Anderson v. Libertv Lobbv. lnc., 477 U.S. 242, 252 (1986). The court's
function is not to Weigh the evidence, judge credibility, or in any Way determine the truth
of the matter, however Anderson, 477 U.S. at 249. Rather, “[t]he inquiry on a summary
judgment motion . . . is . . . ‘Whether the evidence presents a sufficient disagreement to
require submission to a [trier of fact] or Whether it is so one-sided that one party must prevail
as a matter of laW.”’ M, 886 F.Zd at 1479 (quoting Anderson, 477 U.S. at 251-52).
Doubts as to the existence of a genuine issue for trial are resolved against the moving party.

Adicl<es v. S. H. Kress & CO., 398 U.S. 144, 158-59 (1970).

Case 1:04-cv-Oll35-.]DT-STA Document 36 Filed 08/26/05 Page 3 of 17 Page|D 23

The facts of this case are as follows2 Plaintiff was hired by Defendant in 1999. He
transferred to Defendant’s'facility in Brownsville, Tennessee, in 2001.3 In March 2003,
Plaintiff filed a charge with the EEOC, alleging that he was not being considered for
promotions because of his race. Plaintiff later withdrew his charge Plaintiff subsequently
filed a second EEOC charge, claiming that a written reprimand that he received on May 28,
2003, for excessive absenteeism, was in retaliation for filing his first EEOC charge. Plaintiff
was issued a "no cause determination/notice of right to sue" on January 27, 2004, but did not
file suit.

Defendant instituted additional written guidelines for its attendance policy on June
16, 2003.4 The policy provided for different point levels to be allocated for absences,
tardiness, leaving early, and failing to call in timely. The policy also provided for a
graduated disciplinary system, Whereby an employee would be given a verbal notification,
then a written warning, and then a final warning, as points were accumulated An employee
who accumulated ten points would be subject to termination Points expired upon their one
year anniversary. Two points would be deducted if an employee had perfect attendance for
three months.

All employees, including Plaintiff, acknowledged in writing that they had been made

 

2 The facts are stated for the purpose of deciding this motion only.
3 Plaintiff had previously worked for Defendant from 1990 until 1994, when he voluntarily resigned
4 Between January land May 28, 2003, Plaintiff had eight full clay absences and five tardies. The court has

not Considcred these absences and tardies in reaching its decision because they occurred prior to the implementation
of the new policy.

Case 1:04-cv-Oll35-.]DT-STA Document 36 Filed 08/26/05 Page 4 of 17 Page|D 24

aware of the policy. Each employee started with a "clean slate" on June 16, 2003. Paul
Williams, Defendant’s human resources manager, was responsible for administering points
to employees who violated the policy.

Plaintiff received the following points which are not in dispute, unless indicated

otherwise:
June 18, 2003 1/2 point tardiness5
July 9, 2003 ‘/z point tardiness
July 10, 2003 ‘/z point tardiness
July 15, 2003 ‘/z point tardiness
luly 17, 2003 '/2 point tardiness
July 31, 2003 1/2 point leaving early
August 7, 2003 l/z point tardiness over three hours6
August 9, 2003 1/2 point tardiness
August 18, 2003 ‘/2 point tardiness over two hours7
August 23, 2003 '/z point returning late from lunch
September 6, 2003 1/2 point tardiness8

 

5 One point was deducted for tardiness two hours or morc; one half point was deducted for tardiness less
than two hours.

6 Defendant contends that, under the policy, Plaintiff should have received one point but Was mistakenly
debited one half point.

7 Defendant contends that, under the policy, Plaintiff should have received one point but was mistakenly
debited one half point..

8 At this point, Plaintiff received a verbal warning for having accumulated 5.5 points.

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Case 1:04-cv-01135-.]DT-STA Document 36 Filed 08/26/05 Page 5 of 17 Page|D 25

September 8, 2003 %, point leaving early

September 9, 2003 1/1 point leaving early (disputed)9
September 10, 2003 l point working less than a 4 hour shift10
September 18, 2003 '/z point tardiness11

September 22, 2003 '/z point tardiness

October 11, 2003 l/z point leaving early (disputed)12
December 27, 2003 l point absent

Defendant contends that Plaintiff was subject to termination as of December 27th
because he had accumulated a total of ten points Defendant also contends that Plaintiff
accumulated another three points on December 28, 2003, for failing to call in his absence,
and one and one half points on December 29, 2003, for failing to report or call in within one
hour prior to the start of the shift. Plaintiff was terminated effective December 30, 2003.

Prior to his termination, Plaintiff was inadvertently charged with one half point on
two occasions On August 16, 2003, Plaintiff was given permission to leave early to visit

his hospitalized mother. The one half point was removed when Plaintiff brought the error

 

9 Employees had permission to attend the funeral of a co-worker. Employees who attended the funeral
were not charged With one half point. Defendant contends that Plaintiff did not attend the funeral, while Plaintiff
contends that he did.

m At this point, Plaintiff received a written warning for having accumulated 6.5 points

ll Plaintiff received a final written warning for having accumulated 8.0 points. The warning is dated
September 24, 2003.

12 Plaintiff disputes this one half point. Plaintiff contends that Thompson told him that he could leave
early without accruing any points

Case 1:04-cv-01135-.]DT-STA Document 36 Filed 08/26/05 Page 6 of 17 Page|D 26

to Williams’ attention On August 30, 2003 , several employees, including Plaintiff, who had
been given permission to leave early were charged with one half point. The one half point
was removed when this was brought to the attention of the facility superintendent, Doug
Thompson.

Because the policy provided that two points would be removed for three months’
perfect attendance, Plaintiff would have had two points removed before December 27 if he
had not been charged with the October l lth one half point. Thus, without the disputed one
half points that were assessed to Plaintiff on September 9, 2003, and October ll, 2003, he
would have accumulated seven, instead of ten, points by December 27 and would not have
been subject to termination on that date

As for the points awarded on December 28 and December 29, Plaintiff contends that
his girlfriend was told, when she called in on Plaintiff’s behalf, that he would not have to
call in until he was ready to return to work. Plaintiff asserts that he believed that this meant
that he would be assigned only one point per day for a called in absence, rather than three
points for an uncalled in absence Using Plaintiff’s calculations, by December 29, when he
was ready to return to work, he should have had a total of nine pointsl

The framework established in McDonnell Douglas Corp. v. Green, 4ll U.S. 792

 

(1973) is applicable to claims of retaliatory discharge Prince v. Commissioner. U.S.I.N.S .,

 

713 F. Supp. 984, 996 (E.D. Mich. 1989), citing McKenna v. Weinberger, 729 F.2d 783

 

(D.C. Cir. 1984), To establish a prima facie case of retaliation, the plaintiff must show: (l)

Case 1:04-cv-01135-.]DT-STA Document 36 Filed 08/26/05 Page 7 of 17 Page|D 27

that the employer knew that the plaintiff had engaged in a statutorily protected activity; (2)
that the employer took an adverse personnel action; and (3) that a causal connection existed

between the two. Prince, 713 F. Supp. at 996. If the plaintiff establishes a prima facie case,

 

the burden of production shifts to the employer to articulate a legitimate, nondiscriminatory
reason for its actions. Canitia v. Yellow Freight Svstern, Inc., 903 F.2d 1064, 1066 (6th Cir.
1990). The plaintiff, who bears the burden of persuasion throughout the entire process, then
must demonstrate “that the proffered reason was not the true reason for the employment
decision.” Texas Dent. of Communitv Affairs v. Burdine. 450 U.S. 248, 256 (1981).

Defendant acknowledges that Plaintiff engaged in a statutorily protected activity and
that he suffered an adverse personnel action when he was terminated Defendant argues,
however, that Plaintiff cannot show a causal connection between the two. That is, Plaintiff
cannot show that he received the disputed points which led to his termination M he
filed EEOC charges To establish a causal connection, Plaintiff relies on (1) the proximity
between his filing the EEOC charges and receiving the disputed points and (2) records
which purport to show that the policy was applied in a discriminatory manner

The requisite causal connection maybe shown by the close proximity in time between
the protected activity and the allegedly retaliatory action. &e_e Burrus v.United Telephone

Co. of Kansas Inc., 683 F.2d 339, 343 (10th Cir. 1982) (citing Grant v. Bethlehem Steel

 

Corp_., 622 F.2d 43, 46 (2“d Cir. 1980) and Womack v. Munson, 619 F.2d 1292, 1296 (8"‘

Cir. 1980), cert denied, 450 U.S. 979 (1981)) (A causal connection may be demonstrated

Case 1:04-cv-01135-.]DT-STA Document 36 Filed 08/26/05 Page 8 of 17 Page|D 28

by evidence of circumstances that justify an inference of retaliatory motive, such as
protected conduct closely followed by adverse action). See also Hafford v. Seidner, 183
F.3d 506, 515 (6‘h Cir.1999) (A causal connection may be shown by direct evidence or by
knowledge of the complaints on the part of the employer coupled with a closeness in time
sufficient to create an inference of causation.)

Temporal proximity alone, however, in the absence of other evidence, is generally
not sufficient to support a finding of causal connection. See Nguven v, Citv of Cleveland,
229 F.3d 559 (6‘h Cir. 2000). However, temporal proximity may establish a prima facie case
ifit is "very close." Clark Countv Sch. Dist. v. Breeden, 532 U.S. 268, 273 (2001). Mal&
Hafford v. Seidner, 183 F.3d 506 (6"‘ Cir. 1999) (absent additional evidence, two to five
months insufficient to create an issue of causation); Cooner v. Citv of North Olmsted, 795
F.Zd 1265 (6th Cir. 1986) (four months insufficient to support an inference of retaliation).

The relevant dates in this case are as follows: March 2003 (first EEOC charge); June
26, 2003 (second EEOC charge); September 9, 2003 (one half “funeral" point assigned
which Plaintiff disputes); October ll, 2003 (one half "leaving early" point assigned which
Plaintiff disputes); December 8, 2003 (third EEOC charge); December 28, 2003 (three "no
show" points assigned which Plaintiffdisputes); December 29, 2003 (one and one half "late
call in" points assigned which Plaintiff disputes); December 30, 2003 (termination). The
June 26 and September 9 dates are two and one half months apart. "Absent additional

evidence" this time period is “insufficient to create an issue of causation."

Case 1:04-cv-01135-.]DT-STA Document 36 Filed 08/26/05 Page 9 of 17 Page|D 29

Plaintiff contends that the court should look at the proximity of his third EEOC
charge on December 8 and his termination on December 30. Plaintiff' s reasoning is flawed
Defendant’s retaliatory actions, if any, occurred on September 9 and/ or October 1 l when the
disputed points were assigned lf those points were warranted, then Plaintiff would have
accrued the requisite points for termination, regardless of his third EEOC charge13
Therefore, the court need not consider whether the period between December 8 and
December 30 was close enough in time to establish a causal relation.

Plaintiff attempts to rely on attendance records of certain other employees as
"additional evidence" Plaintiff contends that an employee named Douglas Jeter incurred
15.5 points but was not terminated Plaintiff has submitted time punch records for Jeter
which purport to show that Jeter and Plaintiff were treated differently for substantially
similar conduct Defendant has filed objections to these exhibits on various grounds,
including lack of authentication, hearsay, and relevance

The exhibits at issue were discovered by Plaintiff under a tree in a churchyard, after
Plaintiff allegedly received an anonymous telephone call. Defendant’s Obj ection at p. l.
The term "audit suppressed" on the documents means that any changes or updates made to
the time punch records are not reflected on those documentsl l_d,_. Therefore, the documents

cannot be determined to be accurate or complete

 

13 lt is undisputed that Plaintiff should have received at least a point on December 27.

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Case 1:O4-cv-01135-.]DT-STA Document 36 Filed 08/26/05 Page 10 of 17 Page|D 30

Moreover, Plaintiff cannot personally authenticate the documents, nor has he
presented anyone else to authenticate them. Plaintiff’s Depo. at p. 192. The Federal Rules
of Evidence require the authentication of business records by a custodian in order to qualify
for the hearsay exception found in Rule 803(6). The custodian ofthe business records must
testify that the records were "made at or near the time by, or from information transmitted
by a person with knowledge, if kept in the course of regularly conducted business activity,
and if it was the regular practice of that business activity to make the memorandum, report,
record, or data compilation." Fed. R. Evid. 803(6). Because these documents have not been
authenticated and are not complete, the court will not consider them in deciding this motion.

Furthermore, Defendant has presented evidence that the records and Plaintiff’ s
interpretation oftho se records are not proper comparators. Defendant’ s evidence shows that
employees who did not file EEOC charges were terminated under its attendance policy.
Darnall Declaration with attachments, Exhibit U to Defendant’s Reply. Additionally, the
employees pointed to by Plaintiff either did not work at the Brownsville facility and,
therefore, were not governed by the same attendance policy or they did not work the same
shift as Plaintiff. l_cL Also, Plaintiff has assigned "lunch punch" points to Jeter in arriving
at the total number of points that Plaintiff contends Jeter should have had Plaintiffs
Response at p. 13. However, neither Plaintiff nor l eter were assigned "lunch punch" points,
even though this was allowable under the attendance policy. Defendant’s Memorandum,

Exhibit N; Defendant’s Reply, Exhibit U. Thus, Plaintiff cannot rely on these records as

10

Case 1:O4-cv-01135-.]DT-STA Document 36 Filed 08/26/05 Page 11 of 17 Page|D 31

"additional evidence" to establish a causal connection

However, even if the court did consider the records of Douglas Jeter, there is no
evidence that any difference in treatment between Jeter and Plaintiff was the result of
retaliation against Plaintiff. To the contrary, Plaintiff testified in his deposition that Jeter
received preferential treatment because Jeter was a friend of Doug Thompson. Plaintiff s
Depo. at p. 194. See Goostree v. Tennessee, 796 F.2d 854, 862 (6th Cir.1986)
(distinguishing "between a hiring process that proceeds based on legally impermissible
distinctions and a patronage system that relies on family, friends, and political allies“)
(quotations omitted). Accord Brandt v. Shop'n Save Warehouse Foods. Inc., 108 F .3d 935,
938-39 (8th 1997) (although a job may have been created and person hired based on
friendship, rather than qualifications this did not raise an inference that the decision was
motivated by gender discrimination); Autry v. North Carolina Dep't of Human Resources,
820 F.2d 1384, 1385 (4‘h Cir. 1987) (race discrimination case not made by showing that
friendship or politics may have entered into promotion decision); Clement v. Madigan, 820
F. Supp. 1039, 1046-47 & n. 10 (W.D. Mich.1992) (evidence of nepotism does not raise
inference of pretext or racial discrimination).

Neither does Plaintiff’s “perception” that his supervisor’s attitude toward him
changed after he filed his EEOC charges establish a causal connection because Plaintiff has
failed to present evidence that his supervisor had knowledge of the filing of the EEOC

charges Plaintiff’s Depo. at p. 96 (Q. “You don’t know if he [Doug Thompson] knew or

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Case 1:O4-cv-01135-.]DT-STA Document 36 Filed 08/26/05 Page 12 of 17 Page|D 32

not, do you?” A. “No.”); Thompson Depo. at p. 13. See Allen v. Mich. Den't of Corr., 165
F.3d 405, 412 (6th Cir.l999); Thaddeus-X v. Blatter, 175 F.3d 378, 386-87 & n. 3 (6th
Cir.1999) (en banc) (statin g general test for retaliation claims and noting that the test is often
stated as “a four-prong test,” treating the defendant's knowledge of the protected conduct
as the fourth element).

Because Plaintiff has not shown a causal connection between his filing of the EEOC
charges and the adverse action taken against him, he has not established a prima case of
retaliation However, even if he had, Defendant has presented a legitimate, non-
discriminatory reason for its actions, i.e., Plaintiff’s accumulation of points, and Plaintiff has
failed to show that the reason is pretextual

Plaintiff contends that the assignment of one half point on September 9 was
retaliatory because he did, in fact, attend his co-worker’s funeral ln support of this
contention, Plaintiff has presented his own affidavit and that of his girlfriend Paulette
Jarrett, who states that she attended the funeral with Plaintiff ln response, Defendant has
pointed to the testimony of Alan Watts, g Watts Depo. at p. 55, and Paul Williams, g
Williams Declaration. Watts and Williams state that they based their belief that Plaintiff did
not attend the funeral on the fact that they did not see Plaintiff at the funeral

ln Smith v. Ch;ysler Corp., 155 F.3d 799 (6th Cir. 1998), the SiXth Circuit addressed
the standard a court should use when evaluating the factual basis for an employer‘s

articulated reason for a challenged employment decisionl The court discussed the “honest

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Case 1:O4-cv-01135-.]DT-STA Document 36 Filed 08/26/05 Page 13 of 17 Page|D 33

belief” approach used by the Seventh Circuit, which provides that “so long as the employer
honestly believed in the proffered reason given for its employment action, the employee
cannot establish pretext even if the employer's reason is ultimately found to be mistaken,

foolish, trivial, or baseless.” I_d. at 806 (citing Kariotis v. Navistar Int'l Transp. Cor_‘p., l3l
F.3d 672, 676 (7“‘ Cir.1997)). The court explained the reasoning behind this approach “If
the employer honestly, albeit mistakenly, believes in the non-discriminatory reason it relied
upon in making its employment decision, then the employer arguably lacks the necessary
discriminatory intent.” 155 F.3d at 806.

Although the S_mit_h court declined to adopt the “honest belief” rule in its broadest
form (“To the extent the Seventh Circuit's application of the ‘honest belief rule credits an
employer‘s belief without requiring that it be reasonably based on particularized facts rather
than on ignorance and mythology, we reject its approach.”), the court followed a variant of
the rule as articulated in Pesterfield v. TVA, 941 F.2d 437 (6"‘ Cir. 1991). § Parker v. Key

Plastics Inc., 68 F. Supp.2d 818 (E.D. Mich. 1999). The court explained its holding as

 

follows:

Thus, according to Pesterfield, in order for an employer's proffered non-
discriminatory basis for its employment action to be considered honestly held,
the employer must be able to establish its reasonable reliance on the
particularized facts that were before it at the time the decision was made If
the employer is unable to produce such evidence to support its employment
action, then the “honest belief ’ rule does not apply. Even if the employer is
able to make such a showing, the protection afforded by the rule is not
automatic. As was noted in Pesterfield, once the employer is able to point to
the particularized facts that motivated its decision, the employee has the
opportunity to produce “proof to the contrary.” 941 F.2d at 443. As one court

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Case 1:O4-cv-01135-.]DT-STA Document 36 Filed 08/26/05 Page 14 of 17 Page|D 34

noted in a similar context, “if the employer made an error too obvious to be
unintentional, perhaps it had an unlawful motive for doing so.” Fischbach v.
District of Columbia Dept. of Corrections, 86 F.3d 1180, 1183 (D.C.
Cir.1996) (holding that the plaintiff failed to establish that the employer's
proffered nondiscriminatory reason was pretextual).

In deciding whether an employer reasonably relied on the particularized
facts then before it, We do not require that the decisional process used by
the employer be optimal or that it left no stone unturned. Rather, the key
inquiry is whether the employer made a reasonably informed and
considered decision before taking an adverse employment action, §
Texas Dept. ofCommunity Affairs v. Burdine, 450 U.S. 248, 256, 101 S. Ct.
1089, 67 L.Ed2d 207 (198 1) (explaining that an employee establishes pretext
“by showing that the employer's proffered explanation is unworthy of
credence.”) Although courts should resist attempting to micro-manage the
process used by employers in making their employment decisions, neither
should they blindly assume that an employer's description of its reasons is
honest. When the employee is able to produce sufficient evidence to establish
that the employer failed to make a reasonably informed and considered
decision before taking its adverse employment action, thereby making its
decisional process “unworthy of credence,” then any reliance placed by the
employer in such a process cannot be said to be honestly held

155 F.3d at 807-08 (emphasis added). ln §_m_i_t_h, the court noted that the Pesterfield court
had determined that “[t]he question is thus not whether TVA's decision thatplaintiff was not
employable due to his psychiatric condition was correct measured by ‘objective’ standards
What is relevant is that TVA, in fact, acted on its good faith belief about plaintiffs condition
based on Dr. Paine‘s opinion, and, as the district court pointed out, there is no proof to the
contrary.” S_mi_th, 155 F.3d at 808 (citing Pesterfield, 941 F.2d at 443).

Defendant has pointed to the particularized facts on which it based its decision to
assess one half point against Plaintiff for not attending the funeral, i.e., the testimony of

Watts and Williams. These facts are sufficiently detailed to support Defendant's reliance on

14

Case 1:O4-cv-01135-.]DT-STA Document 36 . Filed 08/26/05 Page 15 of 17 Page|D 35

the ‘_‘honest belief” rule Accordingly, the court must accept Defendant’s honestly held
belief that Plaintiff did not attend the funeral in question, even if the actual facts are
otherwise, unless Plaintiff produces sufficient “proof to the contrary” to suggest that
Defendant “failed to make a reasonably informed and considered decision.” _S__n_ii_th, 155
F.3d at 807. Plaintiff has produced no such proof. Thus, Plaintiff has failed to meet his
burden of demonstrating that Defendant's reliance on those facts was unreasonable or was
in any way connected to Plaintiff’s filing of EEOC chargesl

Even if Plaintiff had not been assigned one half point for attending the funeral on
September 9 and one half point for leaving early on October 1 1, he would have accumulated
enough points to be terminated in December while he was incarcerated Using Plaintiff’s
calculations, he should have accumulated seven points, instead of ten, on December 27,
However, it is undisputed that Plaintiff neither called in or reported to work on December
28 and did not call in or report to work within one hour of his shift on December 29.

Plaintiff has presented the affidavit of his girlfriend, Paulette Jarrett, who states that
she talked to Alan Watts, the plant manager, on December 27, 2003, and told him that
Plaintiff had been arrested She states that she was told that Plaintiff did not need to call in
until he was released Although Jarrett “understood from his conversation that Evans
would be receiving one absentee point each day for an absence with a prior call in,” Jarrett
Affrdavit (emphasis added), Plaintiff has presented no evidence that Watts actually said that

Plaintiff would receive only one point. Conclusory allegations, speculation, and

15

Case 1:O4-cv-01135-.]DT-STA Document 36 Filed 08/26/05 Page 16 of 17 Page|D 36

unsubstantiated assertions are not evidence, and are not enough to defeat a well-supported
motion for summary judgment See Luian v. Nat'l Wildlife Fed'n, 497 U.S. 871 (1990);
Trigano v. Bain & Co.` lnc., 380 F.3d 22 (lSt Cir. 2004) ("Trigano‘s speculation about what
other Board members might have done is not evidence."); Booker v. Citv of St. Louis, 309
F.3d 464 (8“‘ Cir. 2002) (Plaintiff "argues that the district court erred in granting summary
judgment because there was a disputed issue of fact concerning whether his selection was
random. The district court did not err. As the district court held, Booker's "belief" that he
was singled out for testing is not evidence that he was.") Thus, Plaintiff has failed to refute
Defendant’ s evidence that, even if he had only seven points on December 27, he would have
received an additional three points on December 28, and one and one half points on
December 29, which would have resulted in his termination

Because Plaintiff has failed to point to facts which, if believed by the trier of fact,
would show that Defendant’s stated reason for discharging him was a pretext for unlawful
retaliation, Defendant is entitled to summary judgment Therefore, Defendant’s motion for

summary judgment is GRANTED. The clerk is directed to enter judgment accordinglyl

WA.M

JA D. TODD
UN ED STATES DISTRICT .TUDGE

o?$/ U/M/MVL o?m)f

DATE U

lT IS SO ORDERED.

16

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in

case 1:04-CV-01135 was distributed by fax, mail, or direct printing on

August 29, 2005 to the parties listed

 

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Honorable .l ames Todd
US DISTRICT COURT

